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                    UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF VERMONT
__________________________________________
                                           )
In re:                                     )
                                           )
                            1
SPRINGFIELD HOSPITAL, INC.                 ) Chapter 11
                                           ) Case No. 19-______
                  Debtor.                  )
__________________________________________)

    EMERGENCY MOTION FOR AUTHORITY TO USE CASH COLLATERAL ON AN
     INTERIM BASIS AND SCHEDULING A HEARING AUTHORIZING THE USE OF
                    CASH COLLATERAL ON A FINAL BASIS

         Springfield Hospital, Inc. (“Springfield” or the “Debtor”) requests that the Court enter an

order authorizing it to use property that may be claimed as cash collateral to allow it to continue

to operate its business. The Debtor makes this request on an emergency, interim basis until such

time as the Court holds a final hearing on this Motion and then, at that time, on a final basis, subject

to extensions of the “Relevant Period,” as that term is defined in this Motion and the Proposed

Order, by consent of any affected parties, or pursuant to a further order of the Court.

         The Debtor provided the United States Trustee (the “UST”) with a copy of this Motion

prior to its filing.




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         The last four digits of the taxpayer identification number of Springfield Hospital, Inc., are 9437. 11 U.S.C.
§ 342(c)(1).

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   Statement of Relief Requested Pursuant to Rule 4001(b)(1)(B) of the Federal Rules of
                                 Bankruptcy Procedure

       Pursuant to Rule 4001(b)(1)(B) of the Federal Rules of Bankruptcy Procedure, the Debtor

provides the following statement of the relief requested:

        Rule                Information Required                           Response
                       “the name of each entity with an
 4001(b)(1)(B)(i)                                            Berkshire Bank
                       interest in the cash collateral”
                                                             Continued business operations,
                       “the purposes for the use of the      payment of ordinary operating
 4001(b)(1)(B)(ii)
                       cash collateral”                      expenses, provision of health care
                                                             services, payment of professionals.
                                                              Continued use of revenues for
                                                              ordinary operations and chapter 11
                                                              costs in accordance with the cash
                                                              plan attached to this Motion as
                       “the material terms, including
                                                              Exhibit A for the time period of
 4001(b)(1)(B)(iii)    duration, of the use of the cash
                                                              June 26, 2019, through October 6,
                       collateral”
                                                              2019, and then continuing
                                                              thereafter, with the consent of
                                                              affected parties or as permitted by
                                                              the Court.
                                                              The cash plan demonstrates that
                       “any liens, cash payments, or other there is no diminution in value of
                       adequate protection that will be       claimed cash collateral for the
                       provided to each entity with an        applicable time period.
                       interest in the cash collateral or, if Alternatively, additional collateral
 4001(b)(1)(B)(iv)
                       no additional adequate protection      will be provided to the extent there
                       is proposed, an explanation of why is a diminution in cash collateral
                       each entity's interest is adequately over the course of usage of cash
                       protected”                             collateral.


                                     Jurisdiction and Venue

       1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.




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         2.    The statutory basis for relief are § 363(c)(2)(B) of title 11 of the United States Code

(the “Bankruptcy Code”), Rule 4001 of the Federal Rules of Bankruptcy Procedure, and Rule

4001-4 of The Vermont Local Bankruptcy Rules (the “Local Rules” or each a “Local Rule”).

                                           Background

I.       Overview

         3.    The Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy

Code on June 26, 2019 (the “Petition Date”). The Debtor continues to operate its business and

manage its property as a debtor-in-possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy

Code. No request for the appointment of a trustee or examiner has been made, and no committee

has been appointed or designated.

         4.    A description of the Debtor, its business, the facts and circumstances supporting

this Motion, and the reason for commencing this case are set forth in greater detail in the

Declaration Of Michael Halstead In Support Of Springfield Hospital, Inc.’s Chapter 11 Petition

And First Day Motions (the “Halstead Declaration”).

         5.    The Halstead Declaration was filed with this Motion and is incorporated by

reference herein. Capitalized terms not defined in this Motion shall have the meaning ascribed to

them in the Halstead Declaration.

         6.    The following paragraphs of the Halstead Declaration directly support the factual

allegations contained in this Motion: 26-36, 53-59, and 77.

II.      General Allegations Related To This Motion

         7.    Granting this Motion is a critical part of the Debtor’s reorganization. Without

authority to use property that may be claimed as cash collateral, the Debtor will be unable to

operate in chapter 11, which will not only jeopardize its reorganization effort and recoveries for



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creditors, but it will also have an adverse impact on patients in the Service Area, some of whom

would be forced to drive significant distances to obtain hospital services. Halstead Declaration,

¶¶ 16, 50, 52, 59.

         A.       Parties Who May Claim An Interest In the Debtor’s Cash Collateral And A
                  Description Of Property That Might Be Cash Collateral

         8.       The Debtor conducted a search of its records and financing statements filed with

the Vermont Secretary of State’s Office immediately prior to filing its chapter 11 petition. Based

on that search, and with one exception,2 Berkshire Bank (“Berkshire”) is the only party the Debtor

is aware of who may claim a security interest in some or all of the Debtor’s “cash collateral,” as

that term is used in § 363(a) of the Bankruptcy Code (the “Cash Collateral”).

         9.       In its UCC financing statement naming Springfield as its debtor, Berkshire

described its collateral as including the following:

         All personal property of Debtor of every kind and nature, wherever located,
         whether now owned or hereafter acquired, including without limitation, the
         following categories of property as defined in Revised Article 9 of the Uniform
         Commercial Code: goods (including inventory, equipment and any accessions
         thereto), instruments (including promissory notes), documents, accounts (including
         health-care-insurance receivables), chattel paper (whether tangible or electronic),
         deposit accounts, letter-of-credit rights (whether or not the letter of credit is
         evidenced by a writing), commercial tort claims, securities and all other investment
         property, general intangibles (including payment intangibles and software),
         supporting obligations and any and all proceeds of the foregoing.

         10.      In essence, Berkshire claims a security interest in all forms of personal property of

the Debtor, including all income-producing property and proceeds of the same. This includes

accounts receivable and their proceeds, deposit accounts (as original collateral and proceeds of

accounts receivable), and investment property.


2
          The Debtor opened a new bank account at Peoples United Bank in May 2019 and deposited $8,000.00 to
secure several credit cards with low credit limits that are used for necessary expenses. Peoples likely claims an interest
in this account up to $8,000.00. The Debtor has requested permission to continue to these credit cards in its pending
motion for authority to maintain its existing bank accounts and cash management system.

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       11.      The Debtor estimates that the net book value of its accounts receivable is

approximately $7,442,773.00 (as of the Petition Date). Halstead Declaration, ¶ 59. This is net of

amounts that the Debtor believes are uncollectible. Halstead Declaration, ¶ 59. The Debtor

projects that the net book value of its accounts receivable will be approximately $7,692,926.00 by

October 6, 2019. Halstead Declaration, ¶ 59.

       12.      The Debtor reserves the right to argue that the value of Berkshire’s interest its

accounts receivable is different from the net book value.

       13.      As of the Petition Date, the Debtor had a number of deposit accounts with funds in

them and a marketable securities account. Halstead Declaration, ¶ 59. These accounts and the

sources of funds in them are summarized in Exhibit A to the Halstead Declaration. Halstead

Declaration, ¶ 59. Several of these accounts are comprised of commingled payments from

Medicare, Medicaid, commercial insurance, and private pay patient funds. Halstead Declaration,

¶ 59. Payments from certain payors include prospective interim payments that the Debtor receives

in advance of services being provided and which are subject to “true up” payments after annual

audits, including “cost reports” filed with Medicare and Medicaid. Halstead Declaration, ¶ 59.

Thus a portion of the Debtor’s receipts may not be earned when paid—or ever—and may never

become revenue. Halstead Declaration, ¶ 59. These prospective payments may not be collateral

of any party. Halstead Declaration, ¶ 59.

       14.      Berkshire cannot have control over any deposit account into which government

receivables are initially deposited. This is because regulations promulgated by the Centers for

Medicare and Medicaid Services require that all proceeds of Medicare and Medicaid receivables

must be paid into a deposit account with respect to which only a medical provider can give

instructions.   See Medicare Claims Processing Manual, Chapter 1, § 20.2.5, available at



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https://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/Downloads/clm104c01.pdf

(last visited June 4, 2019). Financial institutions must provide offset waivers for such accounts.

Id. These regulations also provide that “[i]rrespective of the language in any agreement a

provider/supplier has with a third party that is providing financing, that third party cannot purchase

the provider/supplier’s Medicare receivables.” Id. See also 42 U.S.C. § 1395g(c).

       15.     The Debtor has not completed its investigation as to the validity and enforceability

of Berkshire’s claimed security interest or whether funds in its deposit accounts constitute Cash

Collateral, including because such funds may include prospective interim payments that may never

be earned. Halstead Declaration, ¶ 59. The Debtor reserves all of its rights, including to take the

position that Berkshire does not have a valid, perfected, and enforceable security interest in Cash

Collateral.

       B.      The Debtor’s Working Capital Needs, Sources Of Funds, And Proposed
               Expenditures

       16.     The Debtor requires sufficient working capital to fund necessary operating

expenses in order to remain in business during this case, thereby fulfilling its health care mission,

maximizing the value of its assets for creditors, and ensuring continued access to hospital care in

the Service Area. Halstead Declaration, ¶¶ 53, 59. These expenses include payroll for medical

and administrative staff, purchases of medical supplies and other necessary goods, maintenance of

the Debtor’s facilities in good working order, professional fees, quarterly fees for the United States

Trustee, and generally to meet the Debtor’s ordinary and necessary business expenses arising after

the Petition Date. Halstead Declaration, ¶¶ 53, 59. The Debtor’s proposed budget for the 14-week

period commencing on the Petition Date is filed with this Motion as Exhibit A (the “Cash Plan”).

Halstead Declaration, ¶ 59. It includes monthly (4-week) summaries, weekly projections, and

detailed projected disbursements. Halstead Declaration, ¶ 59.

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        17.      If the Debtor is unable to continue to operate, then the viability of its business will

be jeopardized, the Debtor’s creditors would be worse off, and, of critical importance, patient

health care outcomes could be jeopardized. Halstead Declaration, ¶¶ 50, 52, 59.

        18.      As set forth in the Cash Plan, during the period from the Petition Date through

October 6, 2019 (the “Relevant Period”), the Debtor, in the ordinary course of its business, will

receive cash revenues from its payor sources, including Medicare, Medicaid, third-party

commercial insurance, and private payors. Halstead Declaration, ¶ 59. During this same time

period, the Debtor will provide necessary health care services to its patients and pay operating

expenses. Halstead Declaration, ¶ 59. All of these expenditures, which may vary in accordance

with actual patient needs,3 are reasonable and necessary in order to continue the provision of

appropriate health care services to the patients of the Debtor without harming the value of the

Debtor as a going concern. Halstead Declaration, ¶¶ 55, 56, 59.

        19.      In order for the Debtor to meet its obligations during the Relevant Period, the

Debtor must have the benefit of all of its Cash Collateral. The Debtor would suffer immediate and

irreparable harm without authority to use Cash Collateral. Halstead Declaration. ¶¶ 50, 54, 59. It

would almost immediately be unable to fund payroll and purchase necessary medical supplies.

Halstead Declaration, ¶¶ 50, 52, 59. The Debtor would be unable to operate without employees

and necessary medical supplies. Halstead Declaration, ¶ 59.

        20.      As a result, the Debtor first seeks interim authority to utilize what may be Cash

Collateral during the time period from the Petition Date through the date of a final hearing on this

Motion. For this time period, the Debtor proposes to use Cash Collateral in accordance with the

Cash Plan, though actual expenses may vary from the projections because patient needs may


3
         For example, patient volume may impact staffing levels and payments to vendors as different quantities and
types of medical supplies are required.

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dictate individual vendor payments that differ from what is projected. These expenses are

reasonable and necessary to maintain hospital operations and avoid irreparable harm to the Debtor

during a period of time when Cash Collateral usage is authorized on an interim basis. Halstead

Declaration, ¶ 59. The Debtor would suffer irreparable harm if it is unable to use its Cash

Collateral until the date of a final hearing on the relief requested in this Motion. Halstead

Declaration, ¶¶ 50, 54, 59.

        21.     The Debtor further requests that the Court authorize continued use of what may be

Cash Collateral at a final hearing for the balance of the Relevant Period and continuing thereafter

in accordance with the terms of the Proposed Order, either by consent of affected parties or

pursuant to a further orders of the Court.

        22.     As indicated in the Cash Plan, the Debtor does not project any diminution in the

value of its Cash Collateral over the course of the Relevant Period. The Debtor projects that it will

end the Relevant Period with more Cash Collateral—including cash on hand—than at the

beginning of the Relevant Period. This increase derives from business operations dependent upon

the use of cash receipts that may be Cash Collateral. Thus the projections demonstrate the viability

of the Debtor, the ability of the Debtor to provide utilize cash receipts without any diminution in

cash as between the starting and ending dates of the Relevant Period, and that the relief requested

is in the best interests of the Debtor’s estate.

        23.     In light of the fact that the Debtor expects to be able to conduct its operations

without impairing the value of its Cash Collateral, no further adequate protection is required. In

the event this Court determines that additional adequate protection is needed, and as an alternative

form of relief, the Debtor proposes to grant a mortgage lien on certain unencumbered real property,

limited to the extent of a diminution of Cash Collateral during the Relevant Period.



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                                          Relief Requested

       24.      The Debtor seeks authority to use Cash Collateral on an interim basis until such

time as the Court holds a final hearing on this Motion and then, at that time, on a final basis,

pursuant to the terms of the Proposed Order, subject to extensions of the Relevant Period agreed

to by any party with an interest in Cash Collateral that must be adequately protected or by order

of the Court.

                                           Basis for Relief

       25.      The Debtor seeks authority to use property that may be Cash Collateral pursuant to

§ 363 of the Bankruptcy Code. Section 363(a) defines cash collateral to mean:

       cash, negotiable instruments, documents of title, securities, deposit accounts, or
       other cash equivalents whenever acquired in which the estate and an entity other
       than the estate have an interest and includes the proceeds, products, offspring, rents,
       or profits of property and the fees, charges, accounts or other payments for the use
       or occupancy of rooms and other public facilities in hotels, motels, or other lodging
       properties subject to a security interest as provided in section 552(b) of this title,
       whether existing before or after the commencement of a case under this title.

11 U.S.C. 363(a).

       26.      Under § 363(c) of the Bankruptcy Code, a debtor is authorized to use property of

the estate in the ordinary course of business. 11 U.S.C. § 363(c)(1). This right of a debtor to use

property in the ordinary course of business, however, does not extend to “cash collateral” of a

debtor unless either (i) the party with an interest in the cash collateral consents to its use; or (ii)

the Court, after notice and a hearing, authorizes its use. 11 U.S.C. § 363(c)(a)(A-B).

       27.      In order for the Court to authorize the use of cash collateral, it must be demonstrated

that the interest of the creditor claiming a right in the cash collateral at issue can be “adequately

protected.” 11 U.S.C. § 363(e). Section 363(e) provides, in pertinent part:

       Notwithstanding any other provision of this section, at any time, on request of an
       entity that has an interest in property used, sold, or leased, or proposed to be used,

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       sold, or leased, by the trustee, the court, with or without a hearing, shall prohibit or
       condition such use, sale, or lease as is necessary to provide adequate protection of
       such interest.

11 U.S.C. § 363(e).

       28.     Section 361 of the Bankruptcy Code provides a non-exhaustive list of the ways

adequate protection can be provided. However, no payments or additional adequate protection is

required when cash collateral will not be diminished by its use for the time period in question. In

re Dynaco Corp., 162 B.R. 389, 394 (Bankr. D. N.H. 1993).

       With regard to a lien of this nature, i.e., a “floating lien” of a blanket nature on
       changing and cycling soft collateral, the appropriate adequate protection, and the
       concomitant valuation of collateral appropriate for a determination of adequate
       protection, is a showing that the level of such a fluctuating base of items of
       collateral that are constantly cycling through different shapes and forms, as the
       business operation continues, will in fact remain at the same magnitude (in terms
       of ongoing operational values) during the relevant period of debtor-in-possession
       business operation in the chapter 11 reorganization proceedings.

Id. (emphasis added; internal footnote deleted). Accord In re Arriens, 25 B.R. 79, 81 (Bankr. D.

Or. 1982); McCombs Properties VI, Ltd. V. First Texas Savings Ass’n (In re McCombs Properties,

Ltd.), 88 B.R. 261, 267 (Bankr. C.D. Cal. 1988).

       29.     The Cash Plan demonstrates that the Dynaco standard is met in this case. The

Debtor seeks authority to use Cash Collateral for the next 14 weeks, and the ending balance of all

sources of property that may be Cash Collateral exceeds the beginning balance. This is the result

of continued business operations. Thus the Debtor’s proposed use of Cash Collateral will preserve

the value of Cash Collateral and avoid cessation of business that would require incurring closure

costs necessary to safely wind down hospital operations.

       30.     In light of this, to the extent Berkshire holds a valid, perfected, and enforceable

interest in Cash Collateral, Berkshire’s interests are adequately protected without providing any

additional form of relief.

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       31.      Alternatively, in the event this Court determines that additional adequate protection

is necessary in order to protect the interests of Berkshire, the Debtor proposes to grant Berkshire

additional collateral in the form of a mortgage on real property owned by the Debtor. This

mortgage lien should be limited to the extent there is a diminution in the Cash Collateral of

Berkshire during the Relevant Period. Additional information concerning the real property owned

by the Debtor is set forth in the Halstead Declaration. However, the Debtor proposes initially to

grant a mortgage on property owned by the Debtor and generally located at 55 Vermont Route 11,

Chester, Vermont (the “Chester Property”). The Chester Property has a tax assessed value of

approximately $774,200.00 and is unencumbered. Halstead Declaration, ¶ 31.

       32.      Authorization of the use of Cash Collateral is necessary in order to avoid immediate

and irreparable harm to the Debtor. Halstead Declaration, ¶ 77. The inability to use cash collateral

would mean that the Debtor’s business operations would have to cease, be subject to liquidation

in a bankruptcy case4 or a state court proceeding, or the business would need to be placed into a

receivership under applicable state law. Halstead Declaration, ¶ 77. Any of these outcomes would

cause substantial harm to the Debtor, limit potential recoveries to creditors, and harm the entire

Service Area by eliminating an important source of health care. This would cause irreparable harm

not only to Berkshire, but also to the value of the Debtor’s business, including as a going concern.

                                             Service and Notice

       33.      Notice of this Motion and all related papers were served on the following parties

on the date and manner set forth in the certificate of service related to this Motion: (a) the UST;

(b) the Debtor’s secured creditors or, if applicable, to counsel representing them; (c) the non-

insider holders of the 20 largest unsecured claims against the Debtor or, if applicable, to counsel



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       The Debtor does not consent to conversion to chapter 7 or liquidation of its assets.

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representing such holders; (d) applicable federal and state taxing authorities; (e) SMCS; and (f) to

the extent not included in the foregoing, applicable state and federal regulatory agencies.

            Waiver Of Notice Requirements And Stay Under Bankruptcy Rule 6004

       34.      Based on the nature of the relief requested and the reasons for the relief, the Debtor

requests a waiver of the fourteen (14) day stay under Rule 6004(h) of the Federal Rules of

Bankruptcy Procedure and the notice requirements of Rule 6004(a).

       35.      Further, to the extent applicable, the Debtor requests that the Court find that the

provisions of Rule 6003 of the Federal Rules of Bankruptcy Procedure are satisfied because the

relief requested in this Motion is immediately necessary for the Debtor to be able to continue to

operate its business and preserve the value of its estate for the purpose of reorganization. The

Debtor submits that this is a sufficient basis for the Court to find that there would be immediate

and irreparable harm to the Debtor in requiring it to wait until twenty-one (21) days after the

Petition Date before honoring its payroll and related obligations.

                                            Conclusion

       The Debtor requests that the Court enter an order:

       A.       Finding that service of this Motion and all related documents is adequate under the

circumstances of this matter;

       B.       Authorizing the Debtor to use Cash Collateral pursuant to the terms of the Cash

Plan until such time as a final hearing can be held on this Motion;

       C.       Establishing a date for a final hearing on this Motion; and

       D.       Granting such additional relief as the Court deems proper.




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Date: June 26, 2019              /s/ Andrew C. Helman
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